                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

NATIONAL ASSOCIATION OF
DIVERSITY OFFICERS IN HIGHER
EDUCATION, et al.,
                                                 Case No. 25-cv-0333-ABA

      Plaintiffs,

      v.

DONALD J. TRUMP, et al.,


      Defendants



                                        ORDER

      Defendants have filed a Motion to Stay Injunction Pending Appeal (the “Motion

to Stay,” ECF No. 48), and in that motion requested expedited briefing and ruling,

specifically that the Court rule on the motion to stay by close of business tomorrow. See

ECF No. 48-1 at 2. The request to expedite briefing will be GRANTED IN PART and

DENIED IN PART. Plaintiffs shall respond to the Motion to Stay tomorrow, February

27, 2025. If the government wishes to file a reply brief, it shall be filed February 28,

2025. The Court will rule on the Motion to Stay by Monday, March 3, 2025.




Date: February 26, 2025                               /s/
                                                Adam B. Abelson
                                                United States District Judge
